Case 3:19-cr-00589-RAM Documenti-1 Filed 09/12/19 Pagelof5

UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Jose C. Crespo being duly sworn, do hereby depose and state the following:

l, I am a Border Patrol Agent with the United States Border Patrol and have been so
employed since October 30, 2000. As a Border Patrol Agent, I have gained experience in
conducting investigations related to the illegal entry of aliens into the United States. I attended the
Federal Law Enforcement Training Center at Charleston, South Carolina, where I received training
for the purpose of accomplishing my Border Patrol duties, which includes training in immigration
related law and matters. Furthermore, I also receive training on a continuing basis for the purpose
of maintaining my proficiency pertaining to Border Patrol work.

2. Investigation reveals that on September 8, 2019, Julian ABREU illegally
attempted to re-enter the United States and was interdicted at sea at approximately eight (08)
nautical miles off the coast of Aguadilla, Puerto Rico. Therefore, this affidavit is made in
support of a criminal complaint against ABREU based on violation of Title 8, United States
Code, Section 1326 (a) & (b)(2), attempting to re-enter the United States after being previously
removed from the United States, subsequent to a conviction of an aggravated felony.

3. I make this affidavit based on my own personal knowledge and on oral and
written reports by other federal, state, and/or local law enforcement agents and officers that
investigated this matter. This affidavit does not contain all the information derived from this
investigation; rather, it only contains that which is sufficient to demonstrate probable cause to

believe that a crime has been committed.
Case 3:19-cr-00589-RAM Documenti-1 Filed 09/12/19 Page2of5

PROBABLE CAUSE

4. On September 8, 2019, while on routine patrol, a United States Coast Guard
(USCG) Cutter detected a suspicious vessel that was traveling east approaching the coast of
Aguadilla, Puerto Rico. The USCG Cutter intercepted the suspicious vessel at about eight (08)
nautical miles from the coast of Aguadilla, Puerto Rico. A total of twenty-two (22) subjects,
including Julian ABREU were on board the intercepted vessel. The subjects claimed to be
aliens from the Dominican Republic without proper documentation to enter the United States
legally.

5. For safety reasons, all subjects were transferred on to the USCG Cutter. Once at
the USCG Cutter, all subjects’ fingerprints were entered into a biometrics system to check their
immigration status and criminal history, if any. Biometric checks revealed that ABREU has
previous immigration and criminal history

6. As to ABREU’s immigration and criminal history:

a. On September 5, 1997, ABREU was encountered by Immigration Officers
at the Rio Piedras State Penitenciary in San Juan, Puerto Rico while he was
serving a one (1) year sentence for Domestic Violence and Weapons Laws
charges.

b. On November 11, 1997, ABREU was served with a Notice to Appear.

c. On November 26, 1997, an Immigration Judge Order of Removal was
issued against ABREU.

d. On December 2, 1997, ABREU was physically removed from the United
States.

On September 6, 2001, ABREU was arrested by the Lawrence Drug Task

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Case 3:19-cr-00589-RAM Documenti1-1 Filed 09/12/19 Page 3of5

Force for Cocaine Trafficking.

f. On September 12, 2001, ABREU’s Final Order of Removal was Re-
Instated.

g. On September 21, 2001, an Immigration Judge Order of Removal was
issued against ABREU.

h. On January 5, 2002, ABREU was physically removed from the United
States.

i. On June 27, 2019, Enforcement and Removal Officers from the Criminal
Alien Program encountered ABREU in San Juan, Puerto Rico.

j. ABREU’s Final Order of Removal was Re-Instated.

k. On August 14, 2019, ABREU was physically removed from the United
States.

7. The U.S. Border Patrol Ramey Station was informed and arrangements were made
to coordinate investigation and custody transfer of ABREU. He was transported to the Port of
Entry in Mayaguez, Puerto Rico.

8. Border Patrol Agents were dispatched to investigate and upon arrival, Agents
identified themselves as immigration officers and interviewed the detained subjects as to their
citizenship and immigration status in the United States. All subjects claimed to be citizens and
nationals of the Dominican Republic without valid immigration documents to enter, to be in, or
remain in the United States legally.

9, All subjects were thereafter arrested and transported to the Ramey Border Patrol

Station for further investigation, processing, and removal proceedings.
Case 3:19-cr-00589-RAM Documenti1-1 Filed 09/12/19 Page4of5

10. At Ramey Station, ABREU’s photograph and fingerprints were taken and entered
into different law enforcement databases. Record checks confirmed that ABREU has prior
immigration and criminal history.

11. Border Patrol Agents advised ABREU of his right to legal representation and his
right to speak with the Consul of his native country.

12. ABREU attempted to re-enter the United States illegally at a place other than a
designated port of entry.

13. ABREU does not have any immigration documents allowing him to enter and/or
remain in the United States legally, and was not inspected, admitted or paroled into the United
States by an Officer of the Bureau of Customs and Border Protection.

14. | ABREU does not have any petitions pending with the Bureau of Citizenship and

Immigration Services.
Case 3:19-cr-00589-RAM Documenti-1 Filed 09/12/19 Page5of5

Based upon my training, experience, and participation in other investigations, and based on the
facts revealed in this investigation, | believe that sufficient probable cause exists to demonstrate
the commission of a violation of federal law by the above mentioned subject, to wit, a violation of

Title 8, United States Code, Section 1326(a)&(b)(2).

Jose C. Crespo
Supervisory Border Patrol Agent

Subscribed and sworn before me, in San Juan, Puerto Rico, on this 12th day of September 2019.

POI

oyable Camille. L. Vélez-Rivé
i: ‘(ED STATES MAGISTRATE JUDGE
DISTRICT OF PUERTO RICO

